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                  THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA

CARLOS RAMIREZ,                               Case No.:
on behalf of himself and all others
similarly situated,                           CLASS ACTION COMPLAINT
      Plaintiff,                              DEMAND FOR JURY TRIAL
v.
THE PARADIES SHOPS, LLC,
a Georgia limited liability company,
      Defendant.



      Plaintiff Carlos Ramirez (“Plaintiff”) brings this Class Action Complaint

against The Paradies Shops, LLC (“Defendant”), individually and on behalf of all

others similarly situated (“Class Members”), and alleges, upon personal knowledge

as to their own actions and their counsels’ investigations, and upon information and

belief as to all other matters, as follows:

                               I. INTRODUCTION

      1.       Plaintiff brings this class action against Defendant for its failure to

properly secure and safeguard personal identifiable information that Defendant or a

company it acquired required from employees as a condition of employment,

including names and Social Security numbers (collectively, “personal identifiable

information” or “PII”).

      2.       According to its website, Defendant has “a retail and dining presence


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of 850 stores and 170 restaurants and bars in more than 100 airports.”1 Defendant

has $1.2 billion in sales and more than 10,000 employees.2

          3.       From October 8 to 13, 2020, Defendant’s internal administrative

system was accessed by an unknown, unauthorized actor via a ransomware attack

(the “Data Breach”).

          4.       During the Data Breach, the attacker exfiltrated records that contained

the personal information of more than 76,000 current or former employees of

Defendant.

          5.       On or around October 14, 2020, reports of the Data Breach began

surfacing on the Internet, stating that the ransomware attack had been performed by

the “REvil” ransomware group.

          6.       Defendant has not publicly reported when it first learned of the Data

Breach, but it presumably knew or should have known of the Data Breach (i) once

public reports began surfacing on the Internet or (ii) once a ransom was demanded,

if any.

          7.       On or around June 30, 2021, more than eight months after reports began

surfacing on the Internet about the Data Breach, Defendant began notifying Plaintiff

and Class Members of the Data Breach.


1
    See https://www.paradieslagardere.com/about-us (last visited Aug. 23, 2021).
2
    See id.
                                               2
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      8.       On or around July 2, 2021, more than eight months after reports began

surfacing on the Internet about the Data Breach, Defendant began notifying various

states Attorneys General of the Data Breach.

      9.       By obtaining, collecting, using, and deriving a benefit from the PII of

Plaintiff and Class Members, Defendant assumed legal and equitable duties to those

individuals to protect and safeguard that information from unauthorized access and

intrusion. Defendant admits that the unencrypted PII exposed to “unauthorized

activity” included names and Social Security numbers.

      10.      The exposed PII of Plaintiff and Class Members can be sold on the dark

web. Hackers can access and then offer for sale the unencrypted, unredacted PII to

criminals. Plaintiff and Class Members now face a lifetime risk of identity theft,

which is heightened here by the loss of Social Security numbers.

      11.      This PII was compromised due to Defendant’s negligent and/or careless

acts and omissions and the failure to protect the PII of Plaintiff and Class Members.

In addition to Defendant’s failure to prevent the Data Breach, after discovering the

breach, Defendant waited several months to report it to the states’ Attorneys General

and affected individuals. Defendant has also purposefully maintained secret the

specific vulnerabilities and root causes of the breach and has not informed Plaintiff

and Class Members of that information.

      12.      As a result of this delayed response, Plaintiff and Class Members had

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no idea their PII had been compromised, and that they were, and continue to be, at

significant risk of identity theft and various other forms of personal, social, and

financial harm. The risk will remain for their respective lifetimes.

      13.    Plaintiff brings this action on behalf of all persons whose PII was

compromised as a result of Defendant’s failure to: (i) adequately protect the PII of

Plaintiff and Class Members; (ii) warn Plaintiff and Class Members of Defendant’s

inadequate information security practices; and (iii) effectively secure hardware

containing protected PII using reasonable and effective security procedures free of

vulnerabilities and incidents. Defendant’s conduct amounts to negligence and

violates federal and state statutes.

      14.    Plaintiff and Class Members have suffered injury as a result of

Defendant’s conduct. These injuries include: (i) lost or diminished value of PII; (ii)

out-of-pocket expenses associated with the prevention, detection, and recovery from

identity theft, tax fraud, and/or unauthorized use of their PII; (iii) lost opportunity

costs associated with attempting to mitigate the actual consequences of the Data

Breach, including but not limited to lost time, and (iv) the continued and certainly

increased risk to their PII, which: (a) remains unencrypted and available for

unauthorized third parties to access and abuse; and (b) may remain backed up in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII.

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      15.    Defendant disregarded the rights of Plaintiff and Class Members by

intentionally, willfully, recklessly, or negligently failing to take and implement

adequate and reasonable measures to ensure that the PII of Plaintiff and Class

Members was safeguarded, failing to take available steps to prevent an unauthorized

disclosure of data, and failing to follow applicable, required and appropriate

protocols, policies and procedures regarding the encryption of data, even for internal

use. As the result, the PII of Plaintiff and Class Members was compromised through

disclosure to an unknown and unauthorized third party. Plaintiff and Class Members

have a continuing interest in ensuring that their information is and remains safe, and

they should be entitled to injunctive and other equitable relief.

                                  II. PARTIES

      16.    Plaintiff Carlos Ramirez is a Citizen of Florida residing in Orange

County, Florida.

      17.    Defendant The Paradies Shops, LLC is a limited liability company

organized under the laws of Georgia, headquartered at 2849 Paces Ferry Road, Suite

400, Atlanta, Georgia, with its principal place of business in Atlanta, Georgia.

      18.    The true names and capacities of persons or entities, whether

individual, corporate, associate, or otherwise, who may be responsible for some of

the claims alleged herein are currently unknown to Plaintiff. Plaintiff will seek leave




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of court to amend this complaint to reflect the true names and capacities of such

other responsible parties when their identities become known.

       19.    All of Plaintiff’s claims stated herein are asserted against Defendant

and any of its owners, predecessors, successors, subsidiaries, agents and/or assigns.

                      III. JURISDICTION AND VENUE

       20.    This Court has subject matter and diversity jurisdiction over this action

under 28 U.S.C. § 1332(d) because this is a class action wherein the amount of

controversy exceeds the sum or value of $5 million, exclusive of interest and costs,

there are more than 100 members in the proposed class, and at least one Class

Member is a citizen of a state different from Defendant to establish minimal

diversity.

       21.    The Northern District of Georgia has personal jurisdiction over

Defendant named in this action because Defendant and/or its parents or affiliates are

headquartered in this District and Defendant conduct substantial business in Georgia

and this District through its headquarters, offices, parents, and affiliates.

       22.    Venue is proper in this District under 28 U.S.C. §1391(b) because

Defendant and/or its parents or affiliates are headquartered in this District and a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred

in this District.




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                         IV. FACTUAL ALLEGATIONS

         Background

         23.   Plaintiff and Class Members employed by Defendant or a company it

acquired were required to provide Defendant or a company it acquired with sensitive

and confidential information, including their names and Social Security numbers,

which is static, does not change, and can be used to commit myriad financial crimes.

         24.   Plaintiff and Class Members relied on this sophisticated Defendant to

keep their PII confidential and securely maintained, to use this information for

business purposes only, and to make only authorized disclosures of this information.

Plaintiff and Class Members demand security to safeguard their PII.

         25.   Defendant had a duty to adopt reasonable measures to protect the PII of

Plaintiff and Class Members from involuntary disclosure to third parties.

         The Data Breach

         26.   On or about June 30, 2021, Defendant sent Plaintiff and Class Members

a Notice of Data Incident.3 Defendant informed Plaintiff and Class Members that:

               What Happened? The Paradies Shops, LLC and its
               Affiliates (“Paradies Lagardère”) operates retail stores and
               restaurants primarily in airports throughout the United
               States and Canada. In the course of operating our business,
               we obtained certain personal information about you. From
               October 8 to October 13, 2020, we were the victim of a
               ransomware attack. The attack was not an attack on any
               system used to process information provided by customers
3
    Exhibit 1 (Notice of Data Incident sent to Plaintiff).
                                             7
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                at our stores, but affected only an internal, administrative
                system. The attacker uploaded these records to third-party
                servers.

                We launched an internal investigation and engaged the
                help of third-party forensic experts. After extensive review
                of the potentially compromised files, on May 20, 2021, we
                determined that one or more records contained certain
                parts of your personal information and required us to send
                you this notification.

                What Information Was Involved? Our investigation
                indicated that your name, as well as your Social Security
                Number, were contained in the file(s). We have no
                evidence of actual or attempted misuse of your personal
                information. However, we are informing you of this
                incident in an abundance of caution.

                What We Are Doing. We take the security of personal
                information very seriously. Upon discovery of the
                cyberattack, the Company took immediate action to secure
                our network and systems from further immediate harm.
                We also retained a third-party cybersecurity firm to
                conduct a forensic investigation to confirm that no other
                company systems were impacted, as well as third-party
                forensic experts to perform extensive review of the
                potentially compromised data. Furthermore, we promptly
                reported the incident to federal law enforcement. As we
                look towards the future, we have taken security measures
                to strengthen our network against similar incidents in the
                future.

                We also are notifying you so that you may take further
                steps to protect your information, should you feel it
                appropriate to do so. We also are providing you with
                access to 12 months of credit monitoring and identity
                protection services through Equifax at no charge to you.4

4
    Id. at 1.
                                             8
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         27.     On or about July 2, 2021, Defendant notified various state Attorneys

General of the Data Breach. Defendant also provided the Attorneys General with

“sample” notices of the Data Breach.5

         28.     Defendant admitted in the Notice of Data Incident, the reports to the

Attorneys General, and the “sample” notices of the Data Breach that unauthorized

third persons accessed files that contained sensitive information about employees of

Defendant or a company it acquired, including names and Social Security numbers.

         29.     Defendant claims that “[u]pon discovery of the cyberattack, the

Company took immediate action to secure our network and systems from further

immediate harm.”6 However, the details of the root cause of the Data Breach, the

vulnerabilities exploited, and the remedial measures undertaken to ensure a breach

does not occur again have not been shared with regulators or Plaintiff and Class

Members, who retain a vested interest in ensuring that their information remains

protected.

         30.     The unencrypted PII of Plaintiff and Class Members may end up for

sale on the dark web, or simply fall into the hands of companies that will use the

detailed PII for targeted marketing without the approval of Plaintiff and Class

Members. Unauthorized individuals can easily access the PII of Plaintiff and Class


5
    Exhibit 2 (sample notice filed with Maine Attorney General).
6
    Exhibit 1.
                                            9
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Members.

      31.    Defendant did not use reasonable security procedures and practices

appropriate to the nature of the sensitive, unencrypted information it was

maintaining for Plaintiff and Class Members, causing the exposure of PII for more

than 76,000 individuals.

      32.    As explained by the Federal Bureau of Investigation, “[p]revention is

the most effective defense against ransomware and it is critical to take precautions

for protection.”7

      33.    To prevent and detect ransomware attacks, including the ransomware

attack that resulted in the Data Breach, Defendant could and should have

implemented, as recommended by the United States Government, the following

measures:

       • Implement an awareness and training program. Because end users are
         targets, employees and individuals should be aware of the threat of
         ransomware and how it is delivered.

       • Enable strong spam filters to prevent phishing emails from reaching the
         end users and authenticate inbound email using technologies like Sender
         Policy Framework (SPF), Domain Message Authentication Reporting and
         Conformance (DMARC), and DomainKeys Identified Mail (DKIM) to
         prevent email spoofing.

       • Scan all incoming and outgoing emails to detect threats and filter


7
  See How to Protect Your Networks from RANSOMWARE, at 3, available at
https://www.fbi.gov/file-repository/ransomware-prevention-and-response-for-
cisos.pdf/view (last visited Aug. 23, 2021).
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   executable files from reaching end users.

• Configure firewalls to block access to known malicious IP addresses.

• Patch operating systems, software, and firmware on devices. Consider
  using a centralized patch management system.

• Set anti-virus and anti-malware programs to conduct regular scans
  automatically.

• Manage the use of privileged accounts based on the principle of least
  privilege: no users should be assigned administrative access unless
  absolutely needed; and those with a need for administrator accounts
  should only use them when necessary.

• Configure access controls—including file, directory, and network share
  permissions—with least privilege in mind. If a user only needs to read
  specific files, the user should not have write access to those files,
  directories, or shares.

• Disable macro scripts from office files transmitted via email. Consider
  using Office Viewer software to open Microsoft Office files transmitted
  via email instead of full office suite applications.

• Implement Software Restriction Policies (SRP) or other controls to
  prevent programs from executing from common ransomware locations,
  such as temporary folders supporting popular Internet browsers or
  compression/decompression        programs,     including       the
  AppData/LocalAppData folder.

• Consider disabling Remote Desktop protocol (RDP) if it is not being used.

• Use application whitelisting, which only allows systems to execute
  programs known and permitted by security policy.

• Execute operating system environments or specific programs in a
  virtualized environment.

• Categorize data based on organizational value and implement physical
  and logical separation of networks and data for different organizational



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               units.8

         34.      To prevent and detect ransomware attacks, including the ransomware

attack that resulted in the Data Breach, Defendant could and should have

implemented, as recommended by the United States Cybersecurity & Infrastructure

Security Agency, the following measures:

          • Update and patch your computer. Ensure your applications and
            operating systems (OSs) have been updated with the latest patches.
            Vulnerable applications and OSs are the target of most ransomware
            attacks….

          • Use caution with links and when entering website addresses. Be
            careful when clicking directly on links in emails, even if the sender
            appears to be someone you know. Attempt to independently verify
            website addresses (e.g., contact your organization's helpdesk, search the
            internet for the sender organization’s website or the topic mentioned in
            the email). Pay attention to the website addresses you click on, as well as
            those you enter yourself. Malicious website addresses often appear almost
            identical to legitimate sites, often using a slight variation in spelling or a
            different domain (e.g., .com instead of .net)….

          • Open email attachments with caution. Be wary of opening email
            attachments, even from senders you think you know, particularly when
            attachments are compressed files or ZIP files.

          • Keep your personal information safe. Check a website’s security to
            ensure the information you submit is encrypted before you provide it….

          • Verify email senders. If you are unsure whether or not an email is
            legitimate, try to verify the email’s legitimacy by contacting the sender
            directly. Do not click on any links in the email. If possible, use a previous
            (legitimate) email to ensure the contact information you have for the
            sender is authentic before you contact them.

          • Inform yourself. Keep yourself informed about recent cybersecurity
8
    Id. at 3-4.
                                             12
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            threats and up to date on ransomware techniques. You can find
            information about known phishing attacks on the Anti-Phishing Working
            Group website. You may also want to sign up for CISA product
            notifications, which will alert you when a new Alert, Analysis Report,
            Bulletin, Current Activity, or Tip has been published.

       • Use and maintain preventative software programs. Install antivirus
         software, firewalls, and email filters—and keep them updated—to reduce
         malicious network traffic….9

      35.     To prevent and detect ransomware attacks, including the ransomware

attack that resulted in the Data Breach, Defendant could and should have

implemented, as recommended by the Microsoft Threat Protection Intelligence

Team, the following measures:

             Secure internet-facing assets

             -            Apply latest security updates
             -            Use threat and vulnerability management
             -            Perform regular audit; remove privileged credentials;

             Thoroughly investigate and remediate alerts

             -      Prioritize and treat commodity malware infections as potential
                    full compromise;

             Include IT Pros in security discussions

             -      Ensure collaboration among [security operations], [security
                    admins], and [information technology] admins to configure
                    servers and other endpoints securely;

             Build credential hygiene

9
 See Security Tip (ST19-001) Protecting Against Ransomware (original release date
Apr. 11, 2019), available at https://us-cert.cisa.gov/ncas/tips/ST19-001 (last visited
Aug. 23, 2021).
                                         13
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            -     Use [multifactor authentication] or [network level
                  authentication] and use strong, randomized, just-in-time local
                  admin passwords

            Apply principle of least-privilege

            -            Monitor for adversarial activities
            -            Hunt for brute force attempts
            -            Monitor for cleanup of Event Logs
            -            Analyze logon events

            Harden infrastructure

            -            Use Windows Defender Firewall
            -            Enable tamper protection
            -            Enable cloud-delivered protection
             -    Turn on attack surface reduction rules and [Antimalware Scan
                  Interface] for Office [Visual Basic for Applications].10

      36.   Given that Defendant was storing the PII of more than 76,000

individuals, collected since at least 2018, Defendant could and should have

implemented all of the above measures to prevent and detect ransomware attacks.

      37.   The occurrence of the Data Breach indicates that Defendant failed to

adequately implement one or more of the above measures to prevent ransomware

attacks, resulting in the Data Breach and the exposure of the PII of approximately

140,000 individuals, including Plaintiff and Class Members.

      Defendant Acquires, Collects, and Stores the PII of Plaintiff and Class

10
  See Human-operated ransomware attacks: A preventable disaster (Mar 5, 2020),
available at https://www.microsoft.com/security/blog/2020/03/05/human-operated-
ransomware-attacks-a-preventable-disaster/ (last visited Aug. 23, 2021).
                                       14
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      Members.

      38.    Defendant acquired, collected, and stored the PII of Plaintiff and Class

Members at least from 2018 to 2020.

      39.    As a condition of maintaining employment with Defendant or a

company it acquired, employees entrusted Defendant or a company it acquired with

highly confidential PII.

      40.    By obtaining, collecting, and storing the PII of Plaintiff and Class

Members, Defendant assumed legal and equitable duties and knew or should have

known that it was responsible for protecting the PII from disclosure.

      41.    Plaintiff and Class Members have taken reasonable steps to maintain

the confidentiality of their PII and relied on Defendant to keep their PII confidential

and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information.

      Securing PII and Preventing Breaches

      42.    Defendant could have prevented this Data Breach by properly securing

and encrypting the files and file servers containing the PII of Plaintiff and Class

Members.     Alternatively, Defendant could have destroyed the data, especially

decade-old data from former employees.

      43.    Defendant’s negligence in safeguarding the PII of Plaintiff and Class

Members is exacerbated by the repeated warnings and alerts directed to protecting

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and securing sensitive data.

           44.   Despite the prevalence of public announcements of data breach and

data security compromises, Defendant failed to take appropriate steps to protect the

PII of Plaintiff and Class Members from being compromised.

           45.   The Federal Trade Commission (“FTC”) defines identity theft as “a

fraud committed or attempted using the identifying information of another person

without authority.”11 The FTC describes “identifying information” as “any name or

number that may be used, alone or in conjunction with any other information, to

identify a specific person,” including, among other things, “[n]ame, Social Security

number, date of birth, official State or government issued driver’s license or

identification number, alien registration number, government passport number,

employer or taxpayer identification number.”12

           46.   The ramifications of Defendant’s failure to keep secure the PII of

Plaintiff and Class Members are long lasting and severe. Once PII is stolen,

particularly Social Security numbers, fraudulent use of that information and damage

to victims may continue for years.

           Value of Personal Identifiable Information

           47.   The PII of individuals remains of high value to criminals, as evidenced


11
     17 C.F.R. § 248.201 (2013).
12
     Id.
                                            16
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by the prices they will pay through the dark web. Numerous sources cite dark web

pricing for stolen identity credentials. For example, personal information can be sold

at a price ranging from $40 to $200, and bank details have a price range of $50 to

$200.13 Experian reports that a stolen credit or debit card number can sell for $5 to

$110 on the dark web.14 Criminals can also purchase access to entire company data

breaches from $900 to $4,500.15

      48.    Social Security numbers, for example, are among the worst kind of

personal information to have stolen because they may be put to a variety of

fraudulent uses and are difficult for an individual to change. The Social Security

Administration stresses that the loss of an individual’s Social Security number, as is

the case here, can lead to identity theft and extensive financial fraud:

             A dishonest person who has your Social Security number
             can use it to get other personal information about you.
             Identity thieves can use your number and your good credit
             to apply for more credit in your name. Then, they use the
             credit cards and don’t pay the bills, it damages your credit.
13
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital
Trends,          Oct.            16,          2019,          available           at:
https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-
how-much-it-costs/ (last accessed Aug. 23, 2021).
14
  Here’s How Much Your Personal Information Is Selling for on the Dark Web,
Experian, Dec. 6, 2017, available at: https://www.experian.com/blogs/ask-
experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-
web/ (last accessed Aug. 23, 2021).
15
        In    the     Dark,     VPNOverview,     2019,      available       at:
https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/ (last accessed
Aug. 23, 2021).
                                          17
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             You may not find out that someone is using your number
             until you’re turned down for credit, or you begin to get
             calls from unknown creditors demanding payment for
             items you never bought. Someone illegally using your
             Social Security number and assuming your identity can
             cause a lot of problems.16

      49.    What is more, it is no easy task to change or cancel a stolen Social

Security number. An individual cannot obtain a new Social Security number without

significant paperwork and evidence of actual misuse. In other words, preventive

action to defend against the possibility of misuse of a Social Security number is not

permitted; an individual must show evidence of actual, ongoing fraud activity to

obtain a new number.

      50.    Even then, a new Social Security number may not be effective.

According to Julie Ferguson of the Identity Theft Resource Center, “The credit

bureaus and banks are able to link the new number very quickly to the old number,

so all of that old bad information is quickly inherited into the new Social Security

number.”17

      51.    Based on the foregoing, the information compromised in the Data


16
  Social Security Administration, Identity Theft and Your Social Security Number,
available at: https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed Aug. 23,
2021).
17
  Bryan Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce
Back,        NPR         (Feb.          9,        2015),       available      at:
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millionsworrying-about-identity-theft (last accessed Aug. 23, 2021).
                                         18
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Breach is significantly more valuable than the loss of, for example, credit card

information in a retailer data breach because, there, victims can cancel or close credit

and debit card accounts. The information compromised in this Data Breach is

impossible to “close” and difficult, if not impossible, to change—Social Security

number and name.

       52.    This data demands a much higher price on the black market. Martin

Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to

credit card information, personally identifiable information and Social Security

numbers are worth more than 10x on the black market.”18

       53.    Among other forms of fraud, identity thieves may obtain driver’s

licenses, government benefits, medical services, and housing or even give false

information to police.

       54.    The fraudulent activity resulting from the Data Breach may not come

to light for years.

       55.    There may be a time lag between when harm occurs versus when it is

discovered, and also between when PII is stolen and when it is used. According to

the U.S. Government Accountability Office (“GAO”), which conducted a study

18
   Time Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen
Credit Card Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-
stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed Aug.
23, 2021).
                                          19
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regarding data breaches:

                [L]aw enforcement officials told us that in some cases,
                stolen data may be held for up to a year or more before
                being used to commit identity theft. Further, once stolen
                data have been sold or posted on the Web, fraudulent use
                of that information may continue for years. As a result,
                studies that attempt to measure the harm resulting from
                data breaches cannot necessarily rule out all future harm.19

       56.      At all relevant times, Defendant knew, or reasonably should have

known, of the importance of safeguarding the PII of Plaintiff and Class Members,

including Social Security numbers, and of the foreseeable consequences that would

occur if Defendant’s data security system was breached, including, specifically, the

significant costs that would be imposed on Plaintiff and Class Members as a result

of a breach.

       57.      Plaintiff and Class Members now face years of constant surveillance of

their financial and personal records, monitoring, and loss of rights. The Class is

incurring and will continue to incur such damages in addition to any fraudulent use

of their PII.

       58.      Defendant was, or should have been, fully aware of the unique type and

the significant volume of data on Defendant’s file servers, amounting to potentially

tens or hundreds of thousands of individuals’ detailed, personal information and,


19
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Aug. 23, 2021).
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thus, the significant number of individuals who would be harmed by the exposure of

the unencrypted data.

        59.   To date, Defendant has offered Plaintiff and Class Members only one

years of credit monitoring and identity theft detection through a single credit bureau,

Equifax. The offered service is inadequate to protect Plaintiff and Class Members

from the threats they face for years to come, particularly in light of the PII at issue

here.

        60.   The injuries to Plaintiff and Class Members were directly and

proximately caused by Defendant’s failure to implement or maintain adequate data

security measures for the PII of Plaintiff and Class Members.

        Plaintiff’s Experience

        61.   From approximately 2007 to approximately July 2014, Plaintiff worked

for Hojeij Branded Foods in Orlando, Florida. As a condition of employment, Hojeij

Branded Foods required that Plaintiff provide and/or entrust his PII, including his

name and Social Security number.

        62.   In or around November 2018, Defendant acquired Hojeij Branded

Foods and, as part of the acquisition, acquired information, including names and

Social Security numbers, about then-current and former employees of Hojeij

Branded Foods, including Plaintiff.

        63.   At the time of the Data Breach (October 8 to 13, 2020), Defendant

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retained the names and Social Security numbers of Plaintiff and other former

employees of Hojeij Branded Foods in its internal, administrative system.

         64.    By letter dated February 5, 2021 (before Defendant notified Plaintiff of

the Data Breach), the State of Rhode Island Department of Labor and Training

informed Plaintiff that a claim for Pandemic Unemployment Assistance had been

filed in his name. Filing this claim required the entry of a Social Security number.20

Plaintiff did not file or authorize this claim and does not know who filed it.

         65.    By letter dated May 5, 2021 (before Defendant notified Plaintiff of the

Data Breach), the Commonwealth of Kentucky office of Unemployment Insurance

informed Plaintiff that a claim for Pandemic Unemployment Assistance had been

filed in his name. Filing this claim required the entry of a Social Security number.21

Plaintiff did not file or authorize this claim and does not know who filed it.

         66.    Plaintiff received Defendant’s Notice of Data Incident, dated June 30,

2021, on or about that date. The notice stated that Plaintiff’s name and Social

Security number were contained in files exfiltrated during the Data Breach.

         67.    As a result of the Data Breach notice, Plaintiff spent time dealing with

the consequences of the Data Breach, which includes time spent verifying the



20
     See https://dlt.ri.gov/ui/faq/index.php (last visited Aug. 23, 2021).
21
   See https://kcc.ky.gov/career/Pages/What%20You%20Need%20To%20Know.
aspx (last visited Aug. 23, 2021).
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legitimacy of the Notice of Data Incident and self-monitoring his accounts. This time

has been lost forever and cannot be recaptured.

      68.      Additionally, Plaintiff is very careful about sharing his sensitive PII. He

has never knowingly transmitted unencrypted sensitive PII over the internet or any

other unsecured source.

      69.      Plaintiff stores any documents containing his sensitive PII in a safe and

secure location or destroys the documents. Moreover, he diligently chooses unique

usernames and passwords for his various online accounts.

      70.      Plaintiff suffered actual injury in the form of damages to and diminution

in the value of his PII—a form of intangible property that Plaintiff entrusted to a

company Defendant acquired for the purpose of his employment, which was

compromised in and as a result of the Data Breach.

      71.      Plaintiff suffered lost time, annoyance, interference, and inconvenience

as a result of the Data Breach and has anxiety and increased concerns for the loss of

his privacy.

      72.      Plaintiff has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from his PII,

especially his Social Security number, in combination with his name, being placed

in the hands of unauthorized third parties and possibly criminals.

      73.      Plaintiff has a continuing interest in ensuring that his PII, which, upon

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information and belief, remains backed up in Defendant’s possession, is protected

and safeguarded from future breaches.

                         V. CLASS ALLEGATIONS

      74.    Plaintiff brings this nationwide class action on behalf of himself and on

behalf of all others similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and

23(c)(4) of the Federal Rules of Civil Procedure.

      75.    The Nationwide Class that Plaintiff seek to represent is defined as

follows:

             All United States residents whose PII was contained in
             records that were exfiltrated during the ransomware attack
             that is the subject of the Notice of Data Incident that
             Defendant sent to Plaintiff and other Class Members on or
             around June 30, 2021 (the “Nationwide Class”).

      76.    Excluded from the Classes are the following individuals and/or entities:

Defendant and Defendant’s parents, subsidiaries, affiliates, officers and directors,

and any entity in which Defendant has a controlling interest; all individuals who

make a timely election to be excluded from this proceeding using the correct protocol

for opting out; any and all federal, state or local governments, including but not

limited to their departments, agencies, divisions, bureaus, boards, sections, groups,

counsels and/or subdivisions; and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

      77.    Plaintiff reserve the right to modify or amend the definition of the

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proposed classes before the Court determines whether certification is appropriate.

      78.    Numerosity, Fed R. Civ. P. 23(a)(1): The Nationwide Class (the

“Class”) are so numerous that joinder of all members is impracticable. Defendant

has identified tens of thousands of current and former employees whose PII may

have been improperly accessed in the Data Breach, and the Class is apparently

identifiable within Defendant’s records. Defendant advised Maine Attorney General

Frey that the Data Breach affected 76,741 individuals.

      79.    Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3): Questions of law and

fact common to the Classes exist and predominate over any questions affecting only

individual Class Members. These include:

        a. Whether and to what extent Defendant had a duty to protect the PII of

            Plaintiff and Class Members;

        b. Whether Defendant had duties not to disclose the PII of Plaintiff and

            Class Members to unauthorized third parties;

        c. Whether Defendant had duties not to use the PII of Plaintiff and Class

            Members for non-business purposes;

        d. Whether Defendant failed to adequately safeguard the PII of Plaintiff and

            Class Members;

        e. Whether and when Defendant actually learned of the Data Breach;

        f. Whether Defendant adequately, promptly, and accurately informed

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            Plaintiff and Class Members that their PII had been compromised;

       g. Whether Defendant violated the law by failing to promptly notify

            Plaintiff and Class Members that their PII had been compromised;

       h. Whether Defendant failed to implement and maintain reasonable security

            procedures and practices appropriate to the nature and scope of the

            information compromised in the Data Breach;

       i. Whether Defendant adequately addressed and fixed the vulnerabilities

            which permitted the Data Breach to occur;

       j. Whether Defendant engaged in unfair, unlawful, or deceptive practices

            by failing to safeguard the PII of Plaintiff and Class Members;

       k. Whether Plaintiff and Class Members are entitled to actual,

            consequential, and/or nominal damages as a result of Defendant’s

            wrongful conduct;

       l. Whether Plaintiff and Class Members are entitled to restitution as a result

            of Defendant’s wrongful conduct; and

       m. Whether Plaintiff and Class Members are entitled to injunctive relief to

            redress the imminent and currently ongoing harm faced as a result of the

            Data Breach.

      80.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of

those of other Class Members because all had their PII compromised as a result of

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the Data Breach, due to Defendant’s misfeasance.

      81.    Policies Generally Applicable to the Class: This class action is also

appropriate for certification because Defendant has acted or refused to act on

grounds generally applicable to the Class, thereby requiring the Court’s imposition

of uniform relief to ensure compatible standards of conduct toward the Class

Members and making final injunctive relief appropriate with respect to the Class as

a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiff’s challenge of these policies hinges on Defendant’s conduct

with respect to the Class as a whole, not on facts or law applicable only to Plaintiff.

      82.    Adequacy, Fed. R. Civ. P. 23(a)(4): Plaintiff will fairly and adequately

represent and protect the interests of the Class Members in that he has no disabling

conflicts of interest that would be antagonistic to those of the other Members of the

Class. Plaintiff seeks no relief that is antagonistic or adverse to the Members of the

Class and the infringement of the rights and the damages he has suffered are typical

of other Class Members. Plaintiff has retained counsel experienced in complex class

action litigation, and Plaintiff intends to prosecute this action vigorously.

      83.    Superiority and Manageability, Fed. R. Civ. P. 23(b)(3): The class

litigation is an appropriate method for fair and efficient adjudication of the claims

involved. Class action treatment is superior to all other available methods for the fair

and efficient adjudication of the controversy alleged herein; it will permit a large

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number of Class Members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence,

effort, and expense that hundreds of individual actions would require. Class action

treatment will permit the adjudication of relatively modest claims by certain Class

Members, who could not individually afford to litigate a complex claim against large

corporations, like Defendant. Further, even for those Class Members who could

afford to litigate such a claim, it would still be economically impractical and impose

a burden on the courts.

       84.    The nature of this action and the nature of laws available to Plaintiff

and Class Members make the use of the class action device a particularly efficient

and appropriate procedure to afford relief to Plaintiff and Class Members for the

wrongs alleged because Defendant would necessarily gain an unconscionable

advantage since it would be able to exploit and overwhelm the limited resources of

each individual Class Member with superior financial and legal resources; the costs

of individual suits could unreasonably consume the amounts that would be

recovered; proof of a common course of conduct to which Plaintiff was exposed is

representative of that experienced by the Class and will establish the right of each

Class Member to recover on the cause of action alleged; and individual actions

would create a risk of inconsistent results and would be unnecessary and duplicative

of this litigation.

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      85.    The litigation of the claims brought herein is manageable. Defendant’s

uniform conduct, the consistent provisions of the relevant laws, and the ascertainable

identities of Class Members demonstrates that there would be no significant

manageability problems with prosecuting this lawsuit as a class action.

      86.    Adequate notice can be given to Class Members directly using

information maintained in Defendant’s records.

      87.    Unless a Class-wide injunction is issued, Defendant may continue in its

failure to properly secure the PII of Class Members, Defendant may continue to

refuse to provide proper notification to Class Members regarding the Data Breach,

and Defendant may continue to act unlawfully as set forth in this Complaint.

      88.    Further, Defendant has acted or refused to act on grounds generally

applicable to the Classes and, accordingly, final injunctive or corresponding

declaratory relief with regard to the Class Members as a whole is appropriate under

Rule 23(b)(2) of the Federal Rules of Civil Procedure.

      89.    Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:

            a. Whether Defendant owed a legal duty to Plaintiff and Class Members

                to exercise due care in collecting, storing, using, and safeguarding

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      their PII;

   b. Whether Defendant breached a legal duty to Plaintiff and Class

      Members to exercise due care in collecting, storing, using, and

      safeguarding their PII;

   c. Whether Defendant failed to comply with its own policies and

      applicable laws, regulations, and industry standards relating to data

      security;

   d. Whether an implied contract existed between Defendant on the one

      hand, and Plaintiff and Class Members on the other, and the terms of

      that implied contract;

   e. Whether Defendant breached the implied contract;

   f. Whether Defendant adequately and accurately informed Plaintiff and

      Class Members that their PII had been compromised;

   g. Whether Defendant failed to implement and maintain reasonable

      security procedures and practices appropriate to the nature and scope

      of the information compromised in the Data Breach;

   h. Whether Defendant engaged in unfair, unlawful, or deceptive

      practices by failing to safeguard the PII of Plaintiff and Class

      Members; and,

   i. Whether Class Members are entitled to actual, consequential, and/or

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               nominal damages, and/or injunctive relief as a result of Defendant’s

               wrongful conduct.

                                   COUNT I
                                NEGLIGENCE
                (On Behalf of Plaintiff and the Nationwide Class)

      90.    Plaintiff and the Nationwide Class re-allege and incorporate by

reference herein all of the allegations contained in paragraphs 1 through 89.

      91.    As a condition of their employment with Defendant or a company it

acquired, Plaintiff and the Nationwide Class were obligated to provide Defendant or

a company it acquired with certain PII, including their names and Social Security

numbers.

      92.    Plaintiff and the Nationwide Class entrusted their PII to Defendant or a

company it acquired on the premise and with the understanding that Defendant or a

company it acquired would safeguard their information, use their PII for business

purposes only, and/or not disclose their PII to unauthorized third parties.

      93.    Defendant has full knowledge of the sensitivity of the PII and the types

of harm that Plaintiff and the Nationwide Class could and would suffer if the PII

were wrongfully disclosed.

      94.    Defendant knew or reasonably should have known that the failure to

exercise due care in the collecting, storing, and using of the PII of Plaintiff and the

Nationwide Class involved an unreasonable risk of harm to Plaintiff and the

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Nationwide Class, even if the harm occurred through the criminal acts of a third

party.

         95.   Defendant had a duty to exercise reasonable care in safeguarding,

securing, and protecting such information from being compromised, lost, stolen,

misused, and/or disclosed to unauthorized parties. This duty includes, among other

things, designing, maintaining, and testing Defendant’s security protocols to ensure

that the PII of Plaintiff and the Nationwide Class in Defendant’s possession was

adequately secured and protected.

         96.   Defendant also had a duty to exercise appropriate clearinghouse

practices to remove former employees’ PII it was no longer required to retain

pursuant to regulations.

         97.   Defendant also had a duty to have procedures in place to detect and

prevent the improper access and misuse of the PII of Plaintiff and the Nationwide

Class.

         98.   Defendant’s duty to use reasonable security measures arose as a result

of the special relationship that existed between Defendant and Plaintiff and the

Nationwide Class.       That special relationship arose because Plaintiff and the

Nationwide Class entrusted Defendant or a company it acquired with their

confidential PII, a necessary part of employment with Defendant or a company it

acquired.

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      99.    Defendant was subject to an “independent duty,” untethered to any

contract between Defendant and Plaintiff or the Nationwide Class.

      100. A breach of security, unauthorized access, and resulting injury to

Plaintiff and the Nationwide Class was reasonably foreseeable, particularly in light

of Defendant’s inadequate security practices.

      101. Plaintiff and the Nationwide Class were the foreseeable and probable

victims of any inadequate security practices and procedures. Defendant knew or

should have known of the inherent risks in collecting and storing the PII of Plaintiff

and the Nationwide Class, the critical importance of providing adequate security of

that PII, and the necessity for encrypting PII stored on Defendant’s systems.

      102. Defendant’s own conduct created a foreseeable risk of harm to Plaintiff

and the Nationwide Class. Defendant’s misconduct included, but was not limited to,

its failure to take the steps and opportunities to prevent the Data Breach as set forth

herein. Defendant’s misconduct also included its decisions not to comply with

industry standards for the safekeeping of the PII of Plaintiff and the Nationwide

Class, including basic encryption techniques freely available to Defendant.

      103. Plaintiff and the Nationwide Class had no ability to protect their PII that

was in, and possibly remains in, Defendant’s possession.

      104. Defendant was in a position to protect against the harm suffered by

Plaintiff and the Nationwide Class as a result of the Data Breach.

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      105. Defendant had and continues to have a duty to adequately disclose that

the PII of Plaintiff and the Nationwide Class within Defendant’s possession might

have been compromised, how it was compromised, and precisely the types of data

that were compromised and when. Such notice was necessary to allow Plaintiff and

the Nationwide Class to take steps to prevent, mitigate, and repair any identity theft

and the fraudulent use of their PII by third parties.

      106. Defendant had a duty to employ proper procedures to prevent the

unauthorized dissemination of the PII of Plaintiff and the Nationwide Class.

      107. Defendant has admitted that the PII of Plaintiff and the Nationwide

Class was wrongfully lost and disclosed to unauthorized third persons as a result of

the Data Breach.

      108. Defendant, through its actions and/or omissions, unlawfully breached

its duties to Plaintiff and the Nationwide Class by failing to implement industry

protocols and exercise reasonable care in protecting and safeguarding the PII of

Plaintiff and the Nationwide Class during the time the PII was within Defendant’s

possession or control.

      109. Defendant improperly and inadequately safeguarded the PII of Plaintiff

and the Nationwide Class in deviation of standard industry rules, regulations, and

practices at the time of the Data Breach.

      110. Defendant failed to heed industry warnings and alerts to provide

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adequate safeguards to protect the PII of Plaintiff and the Nationwide Class in the

face of increased risk of theft.

      111. Defendant, through its actions and/or omissions, unlawfully breached

its duty to Plaintiff and the Nationwide Class by failing to have appropriate

procedures in place to detect and prevent dissemination of current and former

employees’ PII.

      112. Defendant breached its duty to exercise appropriate clearinghouse

practices by failing to remove former employees’ PII it was no longer required to

retain pursuant to regulations.

      113. Defendant, through its actions and/or omissions, unlawfully breached

its duty to adequately and timely disclose to Plaintiff and the Nationwide Class the

existence and scope of the Data Breach.

      114. But for Defendant’s wrongful and negligent breach of duties owed to

Plaintiff and the Nationwide Class, the PII of Plaintiff and the Nationwide Class

would not have been compromised.

      115. There is a close causal connection between Defendant’s failure to

implement security measures to protect the PII of Plaintiff and the Nationwide Class

and the harm, or risk of imminent harm, suffered by Plaintiff and the Nationwide

Class. The PII of Plaintiff and the Nationwide Class was lost and accessed as the

proximate result of Defendant’s failure to exercise reasonable care in safeguarding

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such PII by adopting, implementing, and maintaining appropriate security measures.

      116. Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices

in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair act or practice by businesses, such as Defendant, of failing to use reasonable

measures to protect PII. The FTC publications and orders described above also form

part of the basis of Defendant’s duty in this regard.

      117. Defendant violated Section 5 of the FTC Act by failing to use

reasonable measures to protect PII and not complying with applicable industry

standards, as described in detail herein. Defendant’s conduct was particularly

unreasonable given the nature and amount of PII it obtained and stored and the

foreseeable consequences of the immense damages that would result to Plaintiff and

the Nationwide Class.

      118. Defendant’s violation of Section 5 of the FTC Act constitutes

negligence per se.

      119. Plaintiff and the Nationwide Class are within the class of persons that

the FTC Act was intended to protect.

      120. The harm that occurred as a result of the Data Breach is the type of

harm the FTC Act was intended to guard against. The FTC has pursued enforcement

actions against businesses, which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same

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harm as that suffered by Plaintiff and the Nationwide Class.

      121. As a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Nationwide Class have suffered and will suffer

injury, including but not limited to: (i) actual identity theft; (ii) the loss of the

opportunity of how their PII is used; (iii) the compromise, publication, and/or theft

of their PII; (iv) out-of-pocket expenses associated with the prevention, detection,

and recovery from identity theft, tax fraud, and/or unauthorized use of their PII; (v)

lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the present and future consequences of the

Data Breach, including but not limited to efforts spent researching how to prevent,

detect, contest, and recover from tax fraud and identity theft; (vi) costs associated

with placing freezes on credit reports; (vii) the continued risk to their PII, which

remain in Defendant’s possession and is subject to further unauthorized disclosures

so long as Defendant fails to undertake appropriate and adequate measures to protect

the PII of Plaintiff and the Nationwide Class; and (viii) present and future costs in

terms of time, effort, and money that has been and will be expended to prevent,

detect, contest, and repair the impact of the PII compromised as a result of the Data

Breach for the remainder of the lives of Plaintiff and the Nationwide Class.

      122. As a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Nationwide Class have suffered and will continue

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to suffer other forms of injury and/or harm, including, but not limited to, anxiety,

emotional distress, loss of privacy, and other economic and non-economic losses.

      123. Additionally, as a direct and proximate result of Defendant’s

negligence and negligence per se, Plaintiff and the Nationwide Class have suffered

and will suffer the continued risks of exposure of their PII, which remain in

Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the PII in

its continued possession.

      124. As a direct and proximate result of Defendant’s negligence and

negligence per se, Plaintiff and the Nationwide Class are entitled to recover actual,

consequential, and nominal damages.

                                  COUNT II
                   BREACH OF IMPLIED CONTRACT
               (On Behalf of Plaintiff and the Nationwide Class)

      125. Plaintiff and the Nationwide Class re-allege and incorporate by

reference herein all of the allegations contained in paragraphs 1 through 89.

      126. Defendant or a company it acquired required Plaintiff and the

Nationwide Class to provide their personal information, including names and Social

Security numbers, as a condition of their employment.

      127. As a condition of their employment with Defendant or a company it

acquired, Plaintiff and the Nationwide Class provided their personal information. In

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so doing, Plaintiff and the Nationwide Class entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such information, to

keep such information secure and confidential, and to timely and accurately notify

Plaintiff and the Nationwide Class if their data had been breached and compromised

or stolen.

      128. Plaintiff and the Nationwide Class fully performed their obligations

under the implied contracts with Defendant.

      129. Defendant breached the implied contracts it made with Plaintiff and the

Nationwide Class by failing to safeguard and protect their personal information and

by failing to provide timely and accurate notice to them that personal information

was compromised as a result of the Data Breach.

      130. As a direct and proximate result of Defendant’s above-described breach

of implied contract, Plaintiff and the Nationwide Class have suffered (and will

continue to suffer) ongoing, imminent, and impending threat of identity theft crimes,

fraud, and abuse, resulting in monetary loss and economic harm; actual identity theft

crimes, fraud, and abuse, resulting in monetary loss and economic harm; loss of the

confidentiality of the stolen confidential data; the illegal sale of the compromised

data on the dark web; expenses and/or time spent on credit monitoring and identity

theft insurance; time spent scrutinizing bank statements, credit card statements, and




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credit reports; expenses and/or time spent initiating fraud alerts, decreased credit

scores and ratings; lost work time; and other economic and non-economic harm.

      131. As a direct and proximate result of Defendant’s above-described breach

of implied contract, Plaintiff and the Nationwide Class are entitled to recover actual,

consequential, and nominal damages.

                                  COUNT III
                          INVASION OF PRIVACY
                (On Behalf of Plaintiff and the Nationwide Class)

      132. Plaintiff and the Nationwide Class re-allege and incorporate by

reference herein all of the allegations contained in paragraphs 1 through 89.

      133. Plaintiff and the Nationwide Class had a legitimate expectation of

privacy to their PII and were entitled to the protection of this information against

disclosure to unauthorized third parties.

      134. Defendant owed a duty to its current and former employees, including

Plaintiff and the Nationwide Class, to keep their PII contained as a part thereof,

confidential.

      135. Defendant failed to protect and released to unknown and unauthorized

third parties the PII of Plaintiff and the Nationwide Class.

      136. Defendant allowed unauthorized and unknown third parties access to

and examination of the PII of Plaintiff and the Nationwide Class, by way of

Defendant’s failure to protect the PII.

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      137. The unauthorized release to, custody of, and examination by

unauthorized third parties of the PII of Plaintiff and the Nationwide Class is highly

offensive to a reasonable person.

      138. The intrusion was into a place or thing, which was private and is entitled

to be private. Plaintiff and the Nationwide Class disclosed their PII to Defendant or

a company it acquired as part of their employment with Defendant or a company it

acquired, but privately with an intention that the PII would be kept confidential and

would be protected from unauthorized disclosure. Plaintiff and the Nationwide Class

were reasonable in their belief that such information would be kept private and

would not be disclosed without their authorization.

      139. The Data Breach at the hands of Defendant constitutes an intentional

interference with Plaintiff’s and the Nationwide Class’s interest in solitude or

seclusion, either as to their persons or as to their private affairs or concerns, of a kind

that would be highly offensive to a reasonable person.

      140. Defendant acted with a knowing state of mind when its permitted the

Data Breach to occur because it was with actual knowledge that its information

security practices were inadequate and insufficient.

      141. Because Defendant acted with this knowing state of mind, it had notice

and knew the inadequate and insufficient information security practices would cause

injury and harm to Plaintiff and the Nationwide Class.

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      142. As a proximate result of the above acts and omissions of Defendant, the

PII of Plaintiff and the Nationwide Class was disclosed to third parties without

authorization, causing Plaintiff and the Nationwide Class to suffer damages.

      143. Unless and until enjoined, and restrained by order of this Court,

Defendant’s wrongful conduct will continue to cause great and irreparable injury to

Plaintiff and the Nationwide Class in that the PII maintained by Defendant can be

viewed, distributed, and used by unauthorized persons for years to come. Plaintiff

and the Nationwide Class have no adequate remedy at law for the injuries in that a

judgment for monetary damages will not end the invasion of privacy for Plaintiff

and the Nationwide Class.

      144. As a direct and proximate result of Defendant’s invasion of privacy,

Plaintiff and the Nationwide Class are entitled to recover actual, consequential, and

nominal damages.

                                  COUNT IV
                       BREACH OF CONFIDENCE
               (On Behalf of Plaintiff and the Nationwide Class)

      145. Plaintiff and the Nationwide Class re-allege and incorporate by

reference herein all of the allegations contained in paragraphs 1 through 89.

      146. At all times during Plaintiff’s and the Nationwide Class’s interactions

with Defendant, Defendant was fully aware of the confidential and sensitive nature




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of Plaintiff’s and the Nationwide Class’s PII that Plaintiff and the Nationwide Class

provided to Defendant or a company it acquired.

      147. As alleged herein and above, Defendant’s relationship with Plaintiff

and the Nationwide Class was governed by terms and expectations that Plaintiff’s

and the Nationwide Class’s PII would be collected, stored, and protected in

confidence, and would not be disclosed to unauthorized third parties.

      148. Plaintiff and the Nationwide Class employed by Defendant or a

company it acquired provided Plaintiff’s and the Nationwide Class’s PII to

Defendant or a company it acquired with the explicit and implicit understandings

that Defendant or a company it acquired would protect and not permit the PII to be

disseminated to any unauthorized third parties.

      149. Plaintiff and the Nationwide Class employed by Defendant or a

company it acquired also provided Plaintiff’s and the Nationwide Class’s PII to

Defendant or a company it acquired with the explicit and implicit understandings

that Defendant or a company it acquired would take precautions to protect that PII

from unauthorized disclosure.

      150. Defendant voluntarily received in confidence Plaintiff’s and the

Nationwide Class’s PII with the understanding that PII would not be disclosed or

disseminated to the public or any unauthorized third parties.




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      151. Due to Defendant’s failure to prevent and avoid the Data Breach from

occurring, Plaintiff’s and the Nationwide Class’s PII was disclosed and

misappropriated to unauthorized third parties beyond Plaintiff’s and the Nationwide

Class’s confidence, and without their express permission.

      152. As a direct and proximate cause of Defendant’s actions and/or

omissions, Plaintiff and the Nationwide Class have suffered damages.

      153. But for Defendant’s disclosure of Plaintiff’s and the Nationwide

Class’s PII in violation of the parties’ understanding of confidence, their PII would

not have been compromised, stolen, viewed, accessed, and used by unauthorized

third parties. Defendant’s Data Breach was the direct and legal cause of the theft of

Plaintiff’s and the Nationwide Class’s PII as well as the resulting damages.

      154. The injury and harm Plaintiff and the Nationwide Class suffered was

the reasonably foreseeable result of Defendant’s unauthorized disclosure of

Plaintiff’s and the Nationwide Class’s PII. Defendant knew or should have known

its methods of accepting and securing Plaintiff’s and the Nationwide Class’s PII was

inadequate as it relates to, at the very least, securing servers and other equipment

containing Plaintiff’s and the Nationwide Class’s PII.

      155. As a direct and proximate result of Defendant’s breach of its confidence

with Plaintiff and the Nationwide Class, Plaintiff and the Nationwide Class have

suffered and will suffer injury, including but not limited to: (i) actual identity theft;

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(ii) the loss of the opportunity how their PII is used; (iii) the compromise,

publication, and/or theft of their PII; (iv) out-of-pocket expenses associated with the

prevention, detection, and recovery from identity theft, tax fraud, and/or

unauthorized use of their PII; (v) lost opportunity costs associated with effort

expended and the loss of productivity addressing and attempting to mitigate the

present and future consequences of the Data Breach, including but not limited to

efforts spent researching how to prevent, detect, contest, and recover from tax fraud

and identity theft; (vi) costs associated with placing freezes on credit reports; (vii)

the continued risk to their PII, which remain in Defendant’s possession and is subject

to further unauthorized disclosures so long as Defendant fails to undertake

appropriate and adequate measures to protect the PII of current and former

employees; and (viii) present and future costs in terms of time, effort, and money

that has been and will be expended to prevent, detect, contest, and repair the impact

of the PII compromised as a result of the Data Breach for the remainder of the lives

of Plaintiff and the Nationwide Class.

      156. As a direct and proximate result of Defendant’s breaches of confidence,

Plaintiff and the Nationwide Class have suffered and will continue to suffer other

forms of injury and/or harm, including, but not limited to, anxiety, emotional

distress, loss of privacy, and other economic and non-economic losses.




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      157. As a direct and proximate result of Defendant’s breaches of confidence,

Plaintiff and the Nationwide Class are entitled to recover actual, consequential, and

nominal damages.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of himself and Class Members, requests

judgment against Defendant and that the Court grant the following:

      A.     For an Order certifying the Nationwide Class and appointing Plaintiff

             and his Counsel to represent each such Class;

      B.     For equitable relief enjoining Defendant from engaging in the wrongful

             conduct complained of herein pertaining to the misuse and/or

             disclosure of the PII of Plaintiff and Class Members, and from refusing

             to issue prompt, complete, any accurate disclosures to Plaintiff and

             Class Members;

      C.     For injunctive relief requested by Plaintiff, including but not limited to,

             injunctive and other equitable relief as is necessary to protect the

             interests of Plaintiff and Class Members, including but not limited to

             an order:

            i. prohibiting Defendant from engaging in the wrongful and unlawful

                acts described herein;

           ii. requiring Defendant to protect, including through encryption, all

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       data collected through the course of its business in accordance with

       all applicable regulations, industry standards, and federal, state or

       local laws;

  iii. requiring Defendant to delete, destroy, and purge the personal

       identifying information of Plaintiff and Class Members unless

       Defendant can provide to the Court reasonable justification for the

       retention and use of such information when weighed against the

       privacy interests of Plaintiff and Class Members;

  iv. requiring Defendant to implement and maintain a comprehensive

       Information    Security    Program     designed     to   protect   the

       confidentiality and integrity of the PII of Plaintiff and Class

       Members;

   v. prohibiting Defendant from maintaining the PII of Plaintiff and

       Class Members on a cloud-based database;

  vi. requiring Defendant to engage independent third-party security

       auditors/penetration testers as well as internal security personnel to

       conduct testing, including simulated attacks, penetration tests, and

       audits on Defendant’s systems on a periodic basis, and ordering

       Defendant to promptly correct any problems or issues detected by

       such third-party security auditors;

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  vii. requiring Defendant to engage independent third-party security

       auditors and internal personnel to run automated security

       monitoring;

 viii. requiring Defendant to audit, test, and train its security personnel

       regarding any new or modified procedures;

  ix. requiring Defendant to segment data by, among other things,

       creating firewalls and access controls so that if one area of

       Defendant’s network is compromised, hackers cannot gain access to

       other portions of Defendant’s systems;

   x. requiring Defendant to conduct regular database scanning and

       securing checks;

  xi. requiring Defendant to establish an information security training

       program that includes at least annual information security training

       for all employees, with additional training to be provided as

       appropriate based upon the employees’ respective responsibilities

       with handling personal identifying information, as well as protecting

       the personal identifying information of Plaintiff and Class

       Members;

  xii. requiring Defendant to routinely and continually conduct internal

       training and education, and on an annual basis to inform internal

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       security personnel how to identify and contain a breach when it

       occurs and what to do in response to a breach;

 xiii. requiring Defendant to implement a system of tests to assess its

       respective employees’ knowledge of the education programs

       discussed in the preceding subparagraphs, as well as randomly and

       periodically testing employees compliance with Defendant’s

       policies, programs, and systems for protecting personal identifying

       information;

 xiv. requiring Defendant to implement, maintain, regularly review, and

       revise as necessary a threat management program designed to

       appropriately monitor Defendant’s information networks for threats,

       both internal and external, and assess whether monitoring tools are

       appropriately configured, tested, and updated;

  xv. requiring Defendant to meaningfully educate all Class Members

       about the threats that they face as a result of the loss of their

       confidential personal identifying information to third parties, as well

       as the steps affected individuals must take to protect themselves;

 xvi. requiring Defendant to implement logging and monitoring programs

       sufficient to track traffic to and from Defendant’s servers; and for a

       period of 10 years, appointing a qualified and independent third

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              party assessor to conduct a SOC 2 Type 2 attestation on an annual

              basis to evaluate Defendant’s compliance with the terms of the

              Court’s final judgment, to provide such report to the Court and to

              counsel for the class, and to report any deficiencies with compliance

              of the Court’s final judgment;

     D.    For an award of damages, including actual, consequential, and nominal

           damages, as allowed by law in an amount to be determined;

     E.    For an award of attorneys’ fees, costs, and litigation expenses, as

           allowed by law;

     F.    For prejudgment interest on all amounts awarded; and

     G.    Such other and further relief as this Court may deem just and proper.

                        DEMAND FOR JURY TRIAL

     Plaintiff hereby demand that this matter be tried before a jury.

Date: September 10, 2021              Respectfully Submitted,

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